Case 2:17-bk-07424-BMW   Doc 36 Filed 08/24/17 Entered 08/24/17 16:38:47   Desc
                         Main Document    Page 1 of 4
Case 2:17-bk-07424-BMW   Doc 36 Filed 08/24/17 Entered 08/24/17 16:38:47   Desc
                         Main Document    Page 2 of 4
Case 2:17-bk-07424-BMW   Doc 36 Filed 08/24/17 Entered 08/24/17 16:38:47   Desc
                         Main Document    Page 3 of 4
Case 2:17-bk-07424-BMW   Doc 36 Filed 08/24/17 Entered 08/24/17 16:38:47   Desc
                         Main Document    Page 4 of 4
